Case 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 1 of 10 Page|D 367

IN THE UNITED sTATEs DISTRICT couRT FmH)BYl&£tFDG.
FoR THE wEsTERN DIsTRIcT oF TENNESSEE
wEsTERN DIvIsIoN USJULZS PH 5103

CHARLENE SPINKS,

 

Plaintiff,

v. 03 CV 2568 D/P

HOME TECH sERvIcEs co., INC.,
et al.,

Defendants.

 

BoBBIE J. cARR,
Piaintiff,
03 cv 2569 D/P -"”//

'V'.

HOME TECH SERVICES CO., INC.,
et al.,

-.¢\_r-_/h_p\_l\_rb_rv-.d\._r

Defendants.

 

ORDER DENYING NOVASTAR MORTGAGE, INC.'S MOTION FOR DISCOVERY
SANCTIONS AND GRANTING IN PART AND DENYING IN PART MOTION TO
COMPEL DISCOVERY

 

Before the court is defendant NovaStar Mortgage, Inc.’S
(“NovaStar”) Motion for Discovery Sanctions or in the Alternative
to Compel Discovery, filed on December 10, 2004 (Spinke-NovaStar
dkt #170, Carr-NovaStar dkt #242). An amended. memorandum in
Support was filed on December 23, 2004. Plaintiffs Charlene Spinks'
and Bobbie Carr responded on January 20, 2005. NovaStar filed a

reply, with leave of court, on February 2, 2005. On March 3, 2005,

w w document entered on the docket st]% !n 11 %
.`= le 58 and!or?Q( (a) FHCP on fe nn
V L./

 

 

Case 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 2 of 10 Page|D 368

the court held a hearing on this motion. Counsel for all
interested. parties were present and_ heard. On. May' ll, 2005,
NovaStar filed supplemental memoranda in both cases.

For the reasons below, the motion for sanctions is DENIED.
The motion to compel discovery is GRANTED in part and DENIED in
part.

I. BACKGROUND

On 0ctober 22, 2003, Spinks and Carr provided NovaStar with
their initial disclosures. Subsequently, plaintiffs responded to
NovaStar's First Set of Document Requests by stating that they had
previously provided NovaStar with plaintiffs' initial disclosures.
At no time did. plaintiffs inforn1 NovaStar that they were in
possession of any data compilations or databases. Later, however,
while the parties were discussing plaintiffs' discovery responses
and NovaStar's objections to those responses, plaintiffs informed
NovaStar that they were in the process of compiling a database
containing “considerable information about loans made by NovaStar
in the Memphis area between 1998 and 2003 to black and white
borrowers, which will form the basis of our expert witness reports.
That information is currently being analyzed and will be provided
to you in the context of expert witness reports.” (§§e 12/4/04
email from attorney Brewer to attorney Alexander attached as ex. 4
to NovaStar's amended memorandum}. Apparently, the loan
information used to compile the database came from discovery that

plaintiffs' counsel obtained in another case (in which NovaStar is

Case 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 3 of 10 Page|D 369

not a. party). Plaintiffs refused tx) produce the information
contained in this database to NovaStar until they completed the
data compilation.

NovaStar contends that the late disclosure of the existence of
the database, and plaintiffs' refusal to produce the information
contained in the database at this time, violates the scheduling
order‘ and the discovery' rules. NovaStar asks that the court
prohibit the plaintiffs from using the information contained in the
database at trial, and further prohibit them from offering any
evidence of their damages at trial. NovaStar also asks that
plaintiffs pay NovaStar's attorney’s fees and costs associated with
the filing of this motion. In the alternative, NovaStar seeks an
order compelling the plaintiffs to immediately provide NovaStar
with the database (and supporting documentation), and to fully
respond to various interrogatories and document requests identified
in its motion to compel.

II . ANALYSIS

A. The database and sanctions

Rule 26(a)(1)(B) requires that a party must provide to other
parties “a copy of, or a description by category and location of,
all documents, data compilations, and tangible things that are in
the possession, custody, or control of the party and that the
disclosing party may use to support its claims or defenses, unless
solely for impeachment.” Fed.R.Civ.P. 26{a){1){B).

The database and supporting documentation fall squarely within

Case 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 4 of 10 Page|D 370

the definitions of “documents" and “data compilations” that must be
disclosed automatically under Rule 26(a)(1). Although, according
to the plaintiffs, this database will be used as part of their
expert reports, at minimum the existence of the database and the
underlying information contained in the database should have been
made known to NovaStar in a more timely manner.

On May ll, 2005, the court ordered the plaintiffs to provide
the defendants with access to the database and underlying
information. By order dated June 21, 2005, the court clarified its`
May ll ruling by requiring production of only certain relevant
portions of the database. Therefore, the issues relating to the
production of the database have now been resolved. The only issue
remaining involves the appropriate sanctions, if any. After
considering the entire record, the court concludes that the
sanctions requested by NovaStar are not warranted in this case, and
thus the motion for sanctions is DENIED. The plaintiffs have
apparently' been. working on compiling the database for several
months, but due to lack of resources, have been unable to complete
the database sooner. As mentioned above, the plaintiffs should
have informed the defendants earlier about the existence of this
database; however, the trial has recently been reset to October
2006, and thus the defendants will have a sufficient opportunity to
analyze the database prior to trial.

B. Interrogatories and Document Requests

1. Interrocatory Nos. 3, 6. 8 and 14

CaSe 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 5 of 10 Page|D 371

In these interrogatories, NovaStar asks the plaintiffs to
describe in detail facts that support various allegations in
plaintiffs' amended complaints. Plaintiffs' responses state that
NovaStar has not provided information regarding other loans and
that plaintiffs are in the process of compiling the database.

Plaintiffs’ objections based on their inability to obtain
certain discovery from the defendant is not well taken. Plaintiffs
must respond. to these interrogatories, and if new information
becomes available in the future, they must supplement their
discovery responses. Moreover, as mentioned above, the plaintiffs
now have the database completed, and are in a position to respond
to these interrogatories with specificity.

Thus, the plaintiffs shall respond to these interrogatories
fully within thirty (30) days from the date of this order.

2. Interrogatorv Nos. 5, 7, 17, and 19

NovaStar asks the plaintiffs to define or describe various
terms used in the amended complaints. The plaintiffs object to
these interrogatories on the basis that they ask for legal
interpretations or information not factual in nature.

With respect to interrogatory number 5, the court concludes
that the plaintiffs have fully responded to this interrogatory.
Regarding interrogatory numbers 7, 17, and 19, these responses are
insufficient, and the objections are without merit. Therefore, the

plaintiffs shall respond to these interrogatories within thirty

(30) days from the date of this order.

CaSe 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 6 of 10 Page|D 372

3. Interroqatory Nos. 2, 9, 10. 12. 13, 15, 16, and 18

Regarding interrogatory number 2, which asks for plaintiffs'
damages calculation, the motion is GRANTED. Plaintiff shall
respond to this interrogatory with their calculation of damages
within thirty (30) days from the date of this order. Again, the
plaintiffs shall supplement their response if new' information
becomes available.

Regarding interrogatory number 9, which asks for plaintiffs to
describe the basis for allegations that NovaStar made false or
fraudulent pretenses, representations, or promises or that NovaStar
made false representations of existing or past material factsr the
plaintiffs responded generally about all defendants. The motion is
GRANTED, and the plaintiffs shall respond to this interrogatory
specifically regarding the basis of these allegations against
NovaStar within thirty (30) days from the date of this order.

Regarding interrogatory numbers 10, 12, 13, 15, 16, and lB,
the court finds that the responses sufficiently address the
questions posed in the interrogatories. Although NovaStar may
disagree with the substance of these responses, that alone is not
a basis for requiring the plaintiffs to provide a different
response. With respect to interrogatory 10, issues surrounding
Spinks's refusal to cooperate with releasing Social Security
information was previously addressed by the court in its February

17, 2005 order granting NovaStar's Motion to Compel Discovery

Cooperation.

CaSe 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 7 of 10 Page|D 373

However, if the plaintiffs have any additional information in
response to these interrogatories, they shall supplement those
responses within thirty (30) days from the date of this order.

4. Interroqatorv Nos. 4. 11, and 20

Regarding interrogatory number 4, it appears that the
plaintiffs' response is incomplete, and therefore the motion is
GRANTED. The plaintiffs shall respond fully to interrogatory 5
within thirty (30) days from the date of this order.

Regarding interrogatory numbers 11 and 20, NovaStar argues
that the plaintiffs have improperly incorporated their responses to
other interrogatories. Although a party cannot answer one
interrogatory by referring to another equally unresponsive answer,
see Martin v. Easton Pub. Co., 85 F.R.D. 312, 315 (E.D. Pa. 1980),
NovaStar does not explain how the referenced responses to
interrogatories 11 and 20 are unresponsive. Thus, the motion is
DENIED with respect to interrogatories 11 and 20.

5. Document Reguest Nos. 1. 8, 11. 12. 13, 14, 15, and 16

Regarding these documents requests, the plaintiffs shall
supplement their prior responses and provide additional responsive
documents, if any, to NovaStar within thirty (30) days from the
date of this order. As stated in the court's May 24, 2005 Order
Granting NovaStar’s Motion to Compel, the plaintiffs must identify
documents with sufficient particularity so as to allow NovaStar to

ascertain which documents are responsive to the specific discovery

requests.

CaSe 2:03-CV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 8 of 10 Page|D 374

III. CONCLUSION
For the reasons above, NovaStar's motion to compel is GRANTED
in part and DENIED in part. Plaintiffs shall respond to the
discovery requests, as set forth in this order, within thirty (30}
days from the date of this order. NovaStar’s motion for sanctions
is DENIED.

lT IS SO ORDERED. _H___M____. /_>
bbc/t ‘

TU M. PHAM
United States Magistrate Judge

 

 

jails asi amf

mate O

 

August 1, 2005 tc the

parties listed.

Notice of Distribution

This notice confirms a copy cf the document docketed as number 368 in
case 2:03-CV-02569 Was distributed by faX, mail, or direct printing on

EsSEE

 

Evan Nahmias
MCDONALD KUHN
119 South Main St.
Ste. 400

Memphis7 TN 38103

Webb A. Brewer

1\/1E1\/1PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

Memphis7 TN 38103

.1 ohn S. GolWen

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

Memphis7 TN 38103

Roscoe Porter Feild

BURCH PORTER & .1 OHNSON
130 N. Court Avenue

Memphis7 TN 38103

Christopher S. Campbell

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

Memphis7 TN 38103

Loys A. Jordan
MCDONALD KUHN
119 South Main St.
Ste. 400

Memphis7 TN 38103

.1 ennifer Shorb Hagerman
BURCH PORTER & .1 OHNSON
130 N. Court Avenue

Memphis7 TN 38103

Case 2:03-cV-02569-BBD-tmp Document 368 Filed 07/25/05 Page 10 of 10 Page|D 376

W. Timothy Hayes

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

Virginia M. Patterson

THE HARDISON LAW FIRM
119 S. Main St.

Ste. 300

Memphis7 TN 38103

Sapna V. Raj

1\/1E1\/1PH[S AREA LEGAL SERVICES, INC.
109 N. Main Street

Ste. 201

Memphis7 TN 38103

Kristen C. Wright

BASS BERRY & SIMS PLC- Memphis
100 Peabody Place

Ste. 900

Memphis7 TN 38103

.1 ohn L. Ryder

HARRIS SHELTON DUNLAP COBB & RYDER
One Commerce Square

Ste. 2700

Memphis7 TN 38103

Mitchel H. Kider

WEINER BRODSKY SIDMAN K]DER, P.C.
1300 19th Street, N.W.

5th Hoor

Washington, DC 20036--160

Bruce E. Alexander

WEINER BRODSKY SIDMAN K]DER, P.C.
1300 19th Street, N.W.

5th Hoor

Washington, DC 20036--160

Honorable Bernice Donald
US DISTRICT COURT

